                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
MJA HOLDINGS LLC,                   )
                                    )                 C.A. Docket No. 21-cv-10181
      Plaintiff,                    )
                                    )
v.                                  )
                                    )
BATTLE GREEN EQUIPMENT LLC,         )
                                    )
      Defendant.                    )
____________________________________)

                                          COMPLAINT

       MJA Holdings LLC, by its attorneys, Maksim Nemtsev P.C., as and for its Complaint

against Defendant Battle Green Equipment LLC, alleges the following:

                                          THE PARTIES

       1.      Plaintiff MJA Holdings LLC (“MJA”) is a Massachusetts limited liability

company formed on April 7, 2022, with its principal place of business located at 25 Bancroft

Street, Watertown, MA 02051.

       2.      Defendant Battle Green Equipment LLC (“Battle Green”) is a Delaware limited

liability company formed on May 5, 2021, which, upon information, maintains its principal place

of business in the City of Denver, State of Colorado, with an address at P.O. Box 11519, 1766

West 46th Avenue, Denver, CO 80211. Additionally, Battle Green established a corporate

presence in Massachusetts through a foreign filing dated May 10, 2021, with filing ID Number

202154143200 at the corporations division of the Massachusetts Secretary of State.

                                 JURISDICTION AND VENUE

       3.      Jurisdiction of this action lies in the federal district courts pursuant to 28 U.S.C.

§1332, as amended, which provides for original jurisdiction in the District Court of all civil

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actions arising between citizens of different states where the matter in controversy exceeds the

sum or value of $75,000.00, exclusive of interest and costs.

        4.       This action is properly brought in the District of Massachusetts pursuant to

contractual venue provisions binding the parties, and 28 USC § 1391(b)(2)-(3) in that a

substantial part of the events, transactions, and/or omissions giving rise to the claims occurred

within the District of Massachusetts and Battle Green is subject to the personal jurisdiction of the

District of Massachusetts.

                   FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

        5.       This case involves Battle Green’s unfair and deceptive acts made with an intent to

induce MJA to purchase certain HVAC equipment from Battle Green for more than $2 Million.

Battle Green’s unfair and deceptive actions necessitate the recission of the contract and refund of

all amounts MJA paid to Battle Green thereunder.

        6.       On August 18, 2023, MJA and Battle Green entered into an Equipment Purchase

and Sale Agreement (the “Contract”).1 Specifically, MJA agreed to purchase twenty (20)

Dehumidifying Air Handlers (“HVAC units”) at a total sale price of $1,421,243.40 and two (2)

Trane Chillers (“Chillers”) at a total sale price of $706,366.00 (collectively the “Equipment”).2

The total value of the Contract was $2,127,579.40. MJA anticipated utilizing the Equipment in

furtherance of a state-of-the-art grow facility in the District of Massachusetts. MJA paid an

initial $212,757.94 deposit on or about August 20, 2023.

        7.       Under Section 3.7 of the Contract entitled “Equipment Warranties,” “[Battle

Green] warrants to [MJA] that (a) the Equipment is new and does not contain used or



1
 A true and accurate copy of the Contract is attached hereto as Exhibit A.
2
 A true and accurate copy of the Equipment List and Specifications, attached to the Contract as Exhibit A, is
attached hereto as Exhibit B.

                                                         2
reconditioned parts, and conforms to the specifications for the Equipment set forth in Exhibit A

(the “Specifications”); and (b) warranties for the Equipment are available for purchase directly

from the manufacturer of the Equipment.” Despite Battle Green’s assurances leading up to and

stated within the Contract, there was no manufacture warranty available for MJA to purchase for

the HVAC units, which were, in addition, not new.

       8.      Section 7.1 of the Contract, entitled “Conditions to Obligation of the Buyer,”

provides “[t]he obligation of [MJA] to consummate the transactions to be performed by it in

connection with the Closing is subject to satisfaction of the following conditions: (A) the

representations and warranties of [Battle Green] set forth in Section 3 shall be true and correct in

all material respects at and as of the Closing Date […] [MJA] receives confirmation from

qualified personnel, in writing and following the Inspection, that the Equipment conforms to the

Specifications and is in good working order….”

       9.      The Inspection contemplated in Section 7.1(A) of the Contract was to be

conducted, in accordance with Section 8.1, “as soon as practicable after the Effective Date but in

no case later than Closing,” and that “[MJA] shall arrange for the inspection of the Equipment by

qualified personnel.”

       10.     Section 2 of the Contract provides that “the purchase and sale of the Equipment

contemplated hereby shall take place at a closing to be held at 10 a.m., Boston, Massachusetts

time, on September 18, 2023, remotely by exchange of documents and signatures (or their

electronic counterparts), or at such other time or on such other date or at such other place as

[Battle Green] and [MJA] may mutually agree upon in writing….”

       11.     Battle Green and MJA, by mutual agreement, extended the September 18, 2023

Closing on three occasions: (1) the parties, on or about September 20, 2023 extended the closing



                                                 3
date to October 20, 2023 to facilitate the Inspection of the Equipment. In connection with the

extension, MJA wired an additional $212,757.94 deposit to Battle Green on or about September

21, 2023; (2) subsequent to the initial Inspections, described in more detail below, Battle Green

and MJA agreed on or about October 17, 2023, to extend the closing date to November 20, 2023

to allow Battle Green the opportunity to remediate non-conforming equipment. In connection

with this extension, MJA wired an additional $212,757.94 deposit to Battle Green on or about

October 18, 2023; (3) finally, on or about November 15, 2023, the parties agreed to extend the

closing date to December 19, 2023 to allow for an inspection of Battle Green’s remedial

measures. Similarly, in connection with this extension MJA wired Battle Green an additional

$212,757.94 deposit to Battle Green on or about November 15, 2023. In total MJA provided

$851,031.76 in deposits and additional deposits to Battle Green, which have not been returned.

           12.      In accordance with Section 8.1 of the Contract, MJA was able to arrange for the

inspection of the Equipment by qualified personnel, Brandon Huberty of BMH Mechanical (the

“Inspection”) on September 23 and September 29. Mr. Huberty’s inspection report (the “October

report”) was received by MJA and provided to Battle Green on October 2, 2023.3 The October

report noted the following concerning the HVAC units (see Exhibit C):

                “[the HVAC units] have been wrapped with what appears to be marine shrink wrap.”

                “Spot checked multiple [HVAC units] and upon inspection, found that the rigging

                 eyes on the exterior show some rust indicating that units have sat outdoors for some

                 time.”

                “Inspected interior and first section I opened had puddled inside with some sort of

                 algae growth.”



3
    A true and accurate copy of the October report is attached hereto as Exhibit C.

                                                            4
            “There is visible condensation in unit.”

            “There are also insects present.”

            “It looks as though the units have sat for some time and possibl[y] through a winter.”

            “The New England weather changes with cool nights and hot days have created

             condensation and there are visible signs of moisture damage.”

            “Hardware in the airstream has been rusted over.”

            “3 of the units look like they were struck during shipping which given the size of the

             units, not surprised if a few hit trees during transport.”

            “…recommend a full sanitization and clean, replace rusted hardware in air steam, and

             store indoors in climate-controlled storage until being brought in for installation.”

       13.       In accordance with Section 10.1 of the Contract entitled “Buyer Termination

Generally,” [MJA] may terminate [the Contract] by giving written notice to [Battle Green] at any

time prior to the Closing: (A) in the event [Battle Green] has breached any material

representation, warranty, or covenant contained in [the Contract] in any material respect, [MJA]

has provided [Battle Green] with written notice of such breach, and [Battle Green] has not cured

such stated breach within the five (5) business days of receipt of such written notice; (B) in the

event that, following the Inspection, such qualified personnel described in Section 8.1 confirm to

[MJA] that a material portion of the Equipment constitutes Non-Conforming Equipment and

[Battle Green] does not cure such failures within thirty (30) business days of the Inspection

Report Date.”

       14.       Battle Green, therefore, had until November 15, 2023 to cure the failures of the

HVAC units set forth within the October report. MJA arranged for the re-inspection of the

HVAC units by Mr. Huberty, which was conducted on November 17 and December 5, 2023 with


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a written report provided to Battle Green (the “December report”) on or about December 5,

2023.4 While Mr. Huberty “found that the units were cleaned thoroughly and most of the spot

rust had been removed/treated with galvanized paint,” he continued to note the following

nonconforming conditions (see Exhibit D):

                    “I have some concerns with the integrity of the fan motors.”

                    “It appears that more than ½ of the motor’s bearings are audibly loud and stiff.

                     This is most likely the cause of condensation forming in the motors sealed

                     bearings and rusting.”

                    “Also, there are some transformers that have an excessive amount of rust.”

                    “My suggestion is replacement of both fan motors in the 11 units and at least ½ of

                     the transformers on the units that were stored outside. My concern is that all the

                     motors are compromised on the 11 outdoor units.”

           15.       On or about November 30, 2023, the manufacturer of the HVAC units informed

MJA there were no manufacturer warranties available to purchase and that the previous warranty

expired on June 21, 2023, almost two months before the Contract was entered. Upon information

and belief, Battle Green, and more specifically through its employees David W. Ellis and/or

Chad Wise, knew that there were no manufacturer warranties available to purchase for the

HVAC units prior to entering into the Contract with MJA (and prior to extending the closing date

and accepting additional deposits from MJA), and also knew that the HVAC units had been

improperly stored outside and exposed to the elements for many months, which caused the

significant damage that was discovered by MJA as a result of the October and December reports,

prior to being marine wrapped.



4
    A true and accurate copy of the December report is attached hereto as Exhibit D.

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        16.      MJA wrote to Battle Green on December 12, 2023,5 pursuant to Section 10.1 of

the Contract, demanding that Battle Green (1) cure its breaches of the Contract and

misrepresentation concerning the non-existent manufacturer warranties on the HVAC units

within five (5) days, and (2) confirm a cure or replacement of the nonconforming Equipment.6

MJA informed Battle Green that it intended to exercise its remedies on December 20, 2023 by

terminating the Contract and demanding the return of the $851,031.76 deposit and all additional

deposits made by MJA.

        17.      On December 26, 2023, after Battle Green failed to respond or cure its breaches

of the Contract, MJA informed Battle Green that it was exercising its right to immediately

terminate the Contract and demanded that Battle Green return the deposit and additional deposit

within ten (10) business days.7 In addition, MJA provided notice to Battle Green that as a

supplier that made specific representations and concealed certain facts and conditions about its

products, Battle Green engaged in unfair and deceptive acts under Massachusetts General Laws,

Chapter 93A, Section 11 by, inter alia, representing that there were warranties available for

purchase from the manufacturer on the HVAC units when there are (and were) not, storing the

HVAC units outside such that they degraded and became non-conforming equipment under the

Contract, and failing to properly repair and replace the non-conforming equipment.

        18.      To date, Battle Green has not responded to MJA’s demands, and has not returned

MJA’s deposit or additional deposits.




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  Through its counsel Ryan Holz, Esq. of Greenspoon Marder LLP.
6
  A true and accurate copy of the December 12, 2023 letter is attached hereto as Exhibit E.
7
  A true and accurate copy of the December 26, 2023 letter is attached hereto as Exhibit F.

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                          AS AND FOR A FIRST CAUSE OF ACTION
                                   (Breach of Contract)

        19.     MJA repeats and realleges each and every allegation set forth above, as though

fully set forth at length herein.

        20.     The Contract is a binding agreement between the parties and MJA has performed

all obligations required of it thereunder.

        21.     Under Section 3.7(A) of the Contract, Battle Green represented to MJA that “the

Equipment is new and does not contain used or reconditioned parts, and conforms to the

specifications for the Equipment set forth in Exhibit A (the “Specifications”).”

        22.     MJA, in accordance with the Contract terms, arranged for qualified personnel to

the inspect the Equipment on September 23 and September 26, which resulted in the October 2,

2023 report (see Exhibits C), prior to Closing. As a result of the Inspection, Battle Green was on

notice that it had to cure certain defects regarding the aged, damaged, and faulty HVAC units

within thirty (30) business days of October 2, 2023.

        23.     On December 5, 2023, 64 days after the October 2, 2023 report, MJA arranged for

a follow-up inspection of the Equipment by qualified personnel that revealed the continued

nonconformance of a material portion of the HVAC units (see Exhibit D).

        24.     In addition, under Section 3.7(B) of the Contract, Battle Green represented to

MJA that “warranties for the Equipment are available for purchase directly from the

manufacturer of the Equipment.”

        25.     After the parties executed the Contract, the manufacturer of the HVAC units

informed MJA that there were no manufacturer warranties available to purchase, and that such

had been the case for a long time given the age and conditions of the units.




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        26.     Battle Green did not respond to MJA’s demand to cure this breach of the Contract

within five (5) business days.

        27.     Finally, included within the Contract, as is the case with every agreement

governed by Massachusetts law, is the implied covenant of good faith and fair dealing, which

embraces a pledge that neither party shall do anything which will have the effect of destroying or

injuring the right of the other party to receive the fruits of the contract.

        28.     Here, the “fruits” of the Contract included MJA’s right to receive “new”

Equipment and the ability to purchase warranties for the HVAC units from the manufacturer.

        29.     At the time of the Contract, Battle Green knew that the HVAC units had been

stored outside in the harsh Massachusetts weather conditions, making damage to the HVAC units

inevitable. Battle Green had even marine/shrink wrapped the units, apparently after speaking

with the manufacturer, but before entering the Contract. Also, at the time of the Contract, Battle

Green knew or should have known that the manufacturer was not offering warranties on the

HVAC units.

        30.     In sum, Battle Green engaged in bad faith by, inter alia, concealing the HVAC

units in shrink wrap and leaving them outside in the Massachusetts elements, failing to cure or

replace non-conforming equipment while continuing to accept additional deposits from MJA,

failing to inform MJA that extended warranties were unavailable prior to entering into the

Contract and while continuing to accept additional deposits from MJA, and failing to respond to

MJA’s multiple breach letters.

        31.     By reason of the foregoing, Battle Green is liable to MJA for its breach of

contract, to which the Contract should be entirely rescinded, and all amounts MJA paid to Battle

Green returned.



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                      AS AND FOR A SECOND CAUSE OF ACTION
                    (Massachusetts General Laws, Chapter 93A, Section 11)

        32.     MJA repeats and realleges each and every allegation set forth above, as though

fully set forth at length herein.

        33.     MJA engages in the conduct of trade or commerce and contracted with Battle

Green, an entity that also engages in the conduct of trade or commerce.

        34.     Battle Green deceived MJA into contracting for the purchase of more than $2

Million of Equipment. Specifically, Battle Green represented to MJA that it could purchase

manufacturer warranties on the Equipment, when Battle Green knew there were no manufacturer

warranties available for the HVAC units. In addition, Battle Green represented to MJA that the

HVAC units were “new” prior to the time of Contract. However, Battle Green knew that the

HVAC units were years old, stored outside, and damaged as a result of the harsh Massachusetts

weather. Battle Green decided to marine wrap the units at some point, knowing that damage and

wear was occurring.

        35.     Battle Green knew that MJA would not have purchased the Equipment for more

than $2 Million had it known that there were no manufacturer warranties available for the HVAC

units or that the HVAC units were damaged, rusted, faulty, insect infested, and filthy.

        36.     Battle Green’s unfair and deceptive actions were willful in nature because it knew

it had to deceive MJA and conceal facts from MJA in order to make the sale.

        37.     The actions and transactions constituting the alleged unfair method of competition

or the unfair or deceptive act or practice occurred primarily and substantially within

Massachusetts.

        38.     MJA has suffered monetary loss as a result of the employment of the above

referenced unfair and deceptive acts by Battle Green.

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         39.    By reason of the foregoing, Battle Green is liable to MJA for treble damages of

the amount to be determined at the trial of this action, but which exceeds the jurisdictional

threshold of this Court to a significant degree, and the amount of MJA’s attorney’s fees and

costs.

                         AS AND FOR A THIRD CAUSE OF ACTION
                                   (Misrepresentation)

         40.    MJA repeats and realleges each and every allegation set forth above, as though

fully set forth at length herein.

         41.    Battle Green represented to MJA that it could purchase manufacturer warranties

on the Equipment, when Battle Green knew or should have known there were no manufacturer

warranties available for the HVAC units.

         42.    Battle Green represented to MJA that the HVAC units were “new” prior to the

time of Contract. However, Battle Green knew or should have known that the HVAC units were

years old, stored outside, and damaged as a result of the harsh Massachusetts weather.

         43.    Battle Green decided to marine wrap the units at some point, knowing that

damage and wear was occurring, and concealed that information from MJA prior to entering the

Contract.

         44.    By reason of the foregoing, Battle Green is liable to MJA for inducing MJA to

enter into the Contract and to pay substantial deposit amounts based on representations that

Battle Green knew or should have known were false. MJA is entitle to rescission of the Contract

and return of all deposit payments made plus related costs and fees, or an amount of damages to

be determined at the trial of this action, both measures of which exceed the jurisdictional

threshold of this Court to a significant degree.




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        WHEREFORE, Plaintiff MJA Holdings LLC demands judgment as follows:

        (i)     on its first cause of action, complete recission of the Contract, and return of

$851,031.76 in deposits and additional deposits, plus interest, costs, and attorneys’ fees;

        (ii)    on its second cause of action, treble the amount of damages to be determined at the

trial of this action, plus interest, costs, and attorneys’ fees;

        (iii)   on its third cause of action, complete recission of the Contract, and return of

$851,031.76 in deposits and additional deposits, plus interest, costs, and attorneys’ fees; and

        (iv)    such other and further relief as this Court deems necessary and proper.


                                                         Respectfully submitted,

                                                         MJA HOLDINGS LLC

                                                         By its attorneys,


 Dated: Boston, MA                                        MAKSIM NEMTSEV P.C.
        January 24, 2024

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